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  VIA ECF

  Pamela K. Chen, U.S.D.J.
  United States District Court, Eastern District of New York
  225 Cadman Plaza East, Courtroom 4F North
  Brooklyn, New York 11201-1804

  Re:    IME Watchdog, Inc. v. Gelardi, et al.
         Case No.: 1:22-cv-1032 (PKC)(JRC)

  Dear Judge Chen:

         We represent defendants Safa Gelardi (“Safa”), Vito Gelardi (sometimes, “Vito”) and
  IME Companions LLC (“Companions”) and write to request an extension of Vito’s time to
  answer plaintiff’s first amended complaint until the date when Safa and Companions must answer.

           By Minute Order dated November 3, 2022, your Honor ordered that “[p]ending the
  outcome of the pre-motion conference and any subsequent briefing schedule, Vito Gelardi’s
  deadline to file an answer will be set as the same day as Safa Gelardi’s and IME Companions,
  LLC’s deadline to file a response.” Such Order was issued in response to Plaintiff’s letter motion
  dated November 2, 2022, wherein plaintiff consented to an adjournment of Vito’s “deadline to file
  an answer until such time that Safa and Companions must file one.” (See Docket Entry 118).
  Defendants had requested such an extension (with plaintiff’s consent) so that Vito could answer
  the first amended complaint jointly with co-defendants Safa and Companions. At that time, Safa’s
  and Companions’ time to answer had been extended by their filing of a request for a pre-motion
  conference for leave to move to dismiss, and defendants intended for Vito to “piggyback” on the
  extension granted to Safa and Companions by the law so that defendants would only have to
  interpose one answer to the first amended complaint.

          Safa and Companions served their motion to dismiss on January 5, 2023. Pursuant to Fed.
  R. Civ. Pro. 12(A)(4)(A), the time for Safa and Companions to answer the first amended
  complaint has been extended until 14 days after notice of this Court’s decision on their motion to
  dismiss.
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         In light of the foregoing, we respectfully request that defendant Vito Gelardi be granted an
  extension of time to answer the first amended complaint until 14 days after notice of the Court’s
  decision on the motion to dismiss served by Safa and Companions, as contemplated by the parties
  when they requested and received your Honor’s Minute Order dated November 3, 2022, and
  notwithstanding your Honor’s Minute Order dated January 6, 2023, which extended Vito’s time
  to answer until January 12, 2023.

          Pursuant to your Honor’s Individual Practices and Rules, please be advised that: (a) Vito’s
  time to answer was originally scheduled for November 4, 2022 (see Minute Order dated
  10/12/2022); (b) plaintiff consented to the requested adjournment by letter motion dated
  November 2, 2022 (see Docket Entry 118); (c) your Honor granted Vito’s prior request and
  ordered that “[p]ending the outcome of the pre-motion conference and any subsequent briefing
  schedule, Vito Gelardi’s deadline to file an answer will be set as the same day as Safa Gelardi’s
  and IME Companions, LLC’s deadline to file a response” (see Minute Order dated November 3,
  2022); and (d) no other deadlines are affected by this request for an extension.

         We thank the Court for its continued courtesies and cooperation.

                                                               Respectfully yours,


                                                               /s/ Jonathon D. Warner

  JDW/ks

  cc:    All counsel (via ECF)
